Case 1:03-cr-01382-NGG   Document 461   Filed 05/06/05   Page 1 of 6 PageID #: 1278
Case 1:03-cr-01382-NGG   Document 461   Filed 05/06/05   Page 2 of 6 PageID #: 1279
Case 1:03-cr-01382-NGG   Document 461   Filed 05/06/05   Page 3 of 6 PageID #: 1280
Case 1:03-cr-01382-NGG   Document 461   Filed 05/06/05   Page 4 of 6 PageID #: 1281
Case 1:03-cr-01382-NGG   Document 461   Filed 05/06/05   Page 5 of 6 PageID #: 1282
Case 1:03-cr-01382-NGG   Document 461   Filed 05/06/05   Page 6 of 6 PageID #: 1283
